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                         IN THE UNITED STATES DISTRICT COURT

                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA




 BRANDY A. QUINN, et al.,
___________________________                  )
                                             )
               vs.                           )                        2:25-cv-00466-CBB
                                                    Civil Action No. ____________
                                             )
 VIATRIS, INC, et al.,
___________________________                  )
                                             )



                                       JIANAN JIANG
MOTION FOR ADMISSION PRO HAC VICE OF ____________________

                                                         Steamfitters Local 449
       Jianan Jiang, undersigned counsel for Plaintiffs ______________________
Retirement Security Fund and Susie Hsueh hereby moves that to be admitted to appear
______________________________________,
and practice in this Court in the above-captioned matter as counsel pro hac vice for Plaintiffs
 Steamfitters Local 4469 Retirement Security Fund and Susie Hsueh in the above-
___________________________________________________________
captioned matter pursuant to LCvR 83.2 and LCvR 83.3, LCrR 83.2 and this Court's Standing
Order Regarding Pro Hac Vice Admissions dated May 31, 2006 (Misc. No. 06-151).

       In support of this motion, undersigned counsel attaches the Affidavit for Admission Pro
Hac Vice of Jianan Jiang filed herewith, which, it is averred, satisfies the requirements of the
foregoing Local Rules and Standing Order.
                                                     Respectfully submitted,
Dated:    07/15/2025
                                                      /s/ Jianan Jiang
                                                     ______________________________
                                                     Jianan Jiang (Bar. ID NO. 6347023)
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                                                     Chicago, IL 60603
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                                                     ajiang@pomlaw.com
                                                     Counsel for Plaintiffs
